                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )              No. 3:09-cr-00240-20
v.                                                   )
                                                     )              Judge Nixon
LACHAUNTI WILLIAMS                                   )

                                            ORDER

       Pending before the Court is Defendant Lachaunti Williams’s Motion for Clarification

(“Motion”), in which he requests the Court continue his sentencing hearing to a date after his

second trial, which is currently set to begin January 28, 2014. (Doc. No. 2463.) The

Government filed a Response stating it has no objection to the Motion, and suggesting Mr.

Williams’s sentencing be scheduled on a date in May or June 2014. (Doc. No. 2464.)

       The Motion is hereby GRANTED. Mr. Williams’s sentencing hearing is CONTINUED

to June 12, 2014, at 10:00 a.m.

       It is so ORDERED.

       Entered this ___12th ____ day of November, 2013.


                                                     ________________________________
                                                     JOHN T. NIXON, SENIOR JUDGE
                                                     UNITED STATES DISTRICT COURT




Case 3:09-cr-00240       Document 2466        Filed 11/12/13      Page 1 of 1 PageID #: 12777
